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                                                           July 13, 2023

VIA ECF

The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007

         Re: United States v. Samuel Bankman-Fried, S5 22 Cr. 673 (LAK)

Dear Judge Kaplan:

       On behalf of our client, Samuel Bankman-Fried, we write to respectfully request that the
Court issue an order permitting the people on the attached list to visit his parents’ house without
the need for a security guard to be present. The Government consents to this request.

        The bail conditions set forth in the Court’s March 28, 2023 order (the “Order”) (ECF No.
118) require that certain security measures must be followed when any visitors come to the
house, including (1) a security guard must be present at the house to screen the visitors for any
electronic devices, and (2) the visitors must sign the electronic visitor log. Order ¶ 24. These
security measures are not required if the visitors are “pre-approved by the Court.” Id. ¶ 27.

       The list of people attached as Exhibit A includes close friends and colleagues of Mr.
Bankman-Fried’s parents and household help that regularly visit the house. These individuals
are aware of and will abide by Mr. Bankman-Fried’s bail conditions, including the prohibition on
sharing “Prohibited Electronic Devices” with Mr. Bankman-Fried. Id. ¶ 24. The Government
has reviewed the list of names and has no objection to the request. Accordingly, we respectfully
request that the Court approve the list of people so that they are exempt from the security
procedures referenced above.

        We further request that the attached list of people be filed under seal. While the Second
Circuit has recognized a presumption of access to “judicial documents” under both common law
and the First Amendment, it is appropriate to permit the filing of documents under seal if
“countervailing factors” in the common law framework or “higher values” in the First
Amendment framework so demand. Lugosch v. Pyramid Co. of Onandaga, 435 F.3d 110, 124
(2d Cir. 2006); see also Unites States v. Wey, 256 F. Supp. 3d 355, 411 (S.D.N.Y. 2017)
(granting motion to seal evidentiary exhibits and finding that privacy interests “outweigh any
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  public interest in disclosure, whether derived from the First Amendment or the common-law
  right of access”). Here, even assuming that the list of people can be considered a “judicial
  document,” the individuals’ privacy and safety interests greatly outweigh any presumption of
  access to the list and justify protecting their identities from public disclosure. See Lugosch, 435
  F.3d at 119-20.

        For these reasons, we respectfully request that the Court grant the requested relief. The
  Government takes no position with respect to the sealing request.

                                                       Respectfully submitted,


                                                         /s/ Christian R. Everdell      .
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  cc:   All counsel of record (via ECF)
